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           UNITED STATES DISTRICT COURT
                    Western DISTRICT OF WISCONSIN

Darren E. Green,

      Plaintiff,
                                               Case No. 18-cv-38
      v.

Madison Metropolitan School District, John Hagan,
And Eric Kestin,

      Defendants.


             Stipulation for Dismissal with Prejudice and without Costs




      The parties by their respective undersigned attorneys hereby stipulate that this

action may be dismissed with prejudice and without costs.



                          Dated this Wednesday, July 25, 2018.


                          Respectfully submitted,

                          Darren E. Green,

                          Plaintiff,

                          By

                          THE JEFF SCOTT OLSON LAW FIRM, S.C.
                          JEFF SCOTT OLSON
                          State Bar No. 1016284
                          131 W. Wilson St., Suite 1200
                          Madison, WI 53703
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                 /s/ Jeff Scott Olson
                 ______________________________
                 JEFF SCOTT OLSON

                 ATTORNEYS FOR PLAINTIFFS



                 Dated this Wednesday, July 25, 2018.

                 Respectfully submitted,

                 Madison Metropolitan School District, John Hagan,
                 and Eric Kestin,,

                 Defendants,

                 By

                 LINDNER & MARSACK, S.C.
                 Attorneys for Defendants,

                 /s/ Oyvind Wistrom
                 _____________________________
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                 ATTORNEYS FOR DEFENDANTS




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                                         Certificate of Service

I hereby certify that on Wednesday, July 25, 2018, I electronically filed the foregoing with the Clerk of

the Court using the ECF system which will send notification of such filing to the following: Oyvind

Wistrom, and I hereby certify that I have mailed by United States Postal Service the document to the

following non ECF participants: none.


                                                /s/ Jeff Scott Olson




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